Filed 10/07/19                                                                                       Case 19-21640                                                    Doc 131



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                                                                   Peter Cianchetta, SBN: 220971
                                                              2
                                                                   CIANCHETTA & ASSOCIATES
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                                                                   Elk Grove, California 95624
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                                                              5
                                                                   Attorney for Debora Leigh Miller-Zuranich
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                                                              7                          UNITED STATES BANKRUPTCY COURT

                                                              8                            EASTERN DISTRICT OF CALIFORNIA

                                                              9        In re:                                         Case No. 2019-21640
                                                              10
                                                                       Debora Leigh Miller-Zuranich,                  Chapter 11
   CIANCHETTA & ASSOCIATES




                                                              11
                                                                                                       Debtor         Hearing Date: NONE
                             8788 Elk Grove Blvd., Suite 2A




                                                              12
                                                                                                                      Hearing Time: NONE
                                 Elk Grove, CA 95624




                                                              13                                                      Hon. Christopher D. Jaime
                                                              14
                                                                                                                      Courtroom 32 - Dept B

                                                              15
                                                                                     DECLARATION RE: SINGLE ASSET REAL ESTATE
                                                              16
                                                                           I, Debora Miller Zuranich, declare:
                                                              17
                                                                   1. I do not have any legal or equitable interest in "single asset real estate," as defined in 11
                                                              18
                                                                   U.S.C. §101(51B).
                                                              19

                                                              20           I declare under penalty of perjury the forgoing is true and corect, executed at Elk
                                                              21   Grove on October 7, 2019.
                                                              22
                                                                                                                  /s/ Debora Leigh Miller-Zuranich
                                                              23                                                  Debora Leigh Miller-Zuranich

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